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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

BRUNSWICK DIVISION
UNITED STATES OF AMERICA )
v. CASE NO. CR218-14
CLIFTON FOSTER

ORDER

 

The Defendant Clifton Foster filed a Motion to Travel outside the Southern District
of Georgia (634). Specifically, the Defendant seeks permission to travel to both Columbia,
South Carolina and Winston-Salem, North Carolina on March 2, 2019. After Consideration,
the Motion is hereby GRANTED. The Defendant shall be allowed to travel outside of the

Southern District of Georgia from March 2, 2019 — March 3, 2019.

So ORDERED, this 2-% day of February, 2019.

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HONORABLE LISA GODBEY WOOD
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 

 
